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KDE:MEG
F.#2019R00706


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 IN THE MATTER OF THE SEARCH OF
 AN APPLE IPHONE ASSIGNED CALL                  APPLICATION FOR A SEARCH
 NUMBER 347-528-9936 IN A RED AND               WARRANT FOR AN ELECTRONIC
 WHITE CASE THAT IS STORED IN A                 DEVICE
 BAG BEARING FBI CASE NUMBER
 281D-NY-2169145                                Case No. 19MJ587




                            AFFIDAVIT IN SUPPORT OF AN
                        APPLICATION UNDER RULE 41 FOR A
                         WARRANT TO SEARCH AND SEIZE



       I, Steven Schiliro, being first duly sworn, hereby depose and state as follows:


                   INTRODUCTION AND AGENT BACKGROUND



       1.     I make this affidavit in support of an application under Rule 41 ofthe Federal

Rules of Criminal Procedure for a search warrant authorizing the examination of property—

an electronic device described in Attachment A (the "SUBJECT DEVICE")—^which is

currently in law enforcement's possession, and the extraction from that property of

electronically stored information described in Attachment B,


       2.     I am a Special Agent with the Federal Bureau of Investigation("FBI")and

have been since 2009. From 2010 until 2015,1 was assigned to the Joint Terrorism Task

Force, where I was responsible for investigating acts of terrorism. I am currently assigned to

New York Metro Safe Streets Task Force that investigates violent street gangs. I have

experience with, among other things, executing search warrants, debriefing confidential
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informants, conducting surveillance in an undercover and overt capacity, conducting toll

analysis, and reviewing and analyzing data obtained jfrom various media.

       3.     This affidavit is intended to show only that there is sufficient probable cause

for the requested warrant and does not set forth all of my knowledge about this matter.


              IDENTIFICATION OF THE DEVICE TO BE EXAMINED



       4.     The property to be searched is an Apple iPhone with assigned call number

347-528-9936 in a red and white case that is stored in a bag bearing FBI case number 28ID-

NY-2169145, hereinafter the "Device." The Device was seized fi-om Jahmeek Hudson, also

known as "Jah"("HUDSON")pursuant to his arrest on May 9, 2019 and has remained in the

custody ofthe FBI since that date. The Device is currently located in the Eastern District of

New York.



       5.     The applied-for warrant would authorize the forensic examination ofthe

Device for the purpose ofidentifying electronically stored data particularly described in

Attachment B.



                                   PROBABLE CAUSE



       6.     Upon information and belief, there is probable cause to believe that the

SUBJECT DEVICE contains evidence, fruits and/or instrumentalities of violations of 18

U.S.C. §§ 1512(k)(conspiracy to tamper with a witness) and 1512(b)(1) and (b)(2)(A)

(tampering with a witness)(collectively, the "SUBJECT OFFENSES"). More specifically,

as set forth below, there is probable cause to believe that HUDSON used the SUBJECT
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 DEVICE to attempt to intimidate and tamper with a person whom he believed would provide

 testimony in a federal criminal prosecution.

        7.     On July 5, 2018, a grand jury in the Eastern District ofNew York indicted

 Shakeem Boykins("Boykins") on one count of being a felon in possession of a firearm and

 ammunition, in violation of 18 U.S.C. § 922(g), in connection with the October 5,2017 non-

 fatal shooting of Jane Doe by Boykins in the Louis H.Pink Houses, a New York City

 Housing Authority Complex in East New York, Brooklyn (the "Pink Houses"). Jane Doe is

therefore a victim of Boykins' offense and potential witness against Boykins. At the time of

 HUDSON'S criminal conduct,the criminal case against Boykins was pending, and a trial in

the United States District Court for the Eastern District of New York was scheduled to


commence in less than a month.'

        8.     On or about April 13, 2019, Jane Doe contacted law enforcement officers to

report that photocopies of a report of a 2011 New York City Police Department("NYPD")

interview of Jane Doe had been posted in the lobbies of numerous buildings ofthe Pink

Houses. The photocopies ofthe Jane Doe interview report(hereinafter, the "Posters") did

 not pertain to the case against Boykins but, as described below, contained a threatening

 message against Jane Doe apparently related to the Boykins trial.




'On June 14, 2019, Boykins was convicted by ajury at trial ofthe sole count ofthe indictment
filed against him, which charged him with being a felon in possession of a firearm and
ammunition, in violation of Title 18, United States Code, Section 922(g)(1). See United States v.
Shakeem Bovkins. 18-CR-338(ERK).
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        9.    Law enforcement officers subsequently obtained copies ofthe Posters

described by Jane Doe from a lobby of a Pink Houses residential building. The Poster had

handwriting on it that read,"[Jane Doe] Been a Rat And She Still Ratting." I am aware,

based on my training and experience, that "ratting" is a commonly used derogatory slang

word for cooperating with police. I am also aware that publicly identifying someone as

assisting law enforcement exposes such a person to a significant risk of physical or other

harm.


        10.   On or about April 15, 2019, Jane Doe provided to law enforcement officers a

recording and text messages received on Jane Doe's telephone on or about April 12, 2019

and April 13, 2019. Based on information from Jane Doe's phone and Jane Doe's statements

to law enforcement, I am aware that on or about April 12, 2019, at approximately 11:00 p.m.,

Jane Doe received a text message from the Facebook messenger account "Jah Banga," the

Facebook account associated with HUDSON. Among other things, photographs on the "Jah

Banga" Facebook account appear to depict HUDSON,based on my comparison of his

likeness to known law enforcement photographs of HUDSON. Jane Doe also identified the

"Jah Banga" Facebook account as belonging to HUDSON,a person whom Jane Doe knows

as "Jah" and has known for a number of years from in and around the Pink Houses.

        11.   In the Facebook messenger conversation between Jane Doe and "Jah Banga,"

Jane Doe requested a telephone number in order to speak with the person messaging her

about why he had attempted to contact Jane Doe. The person sent Jane Doe a telephone

number. A family member of Jane Doe's("Jane Doe's Family Member")called the

telephone number and spoke to a male individual known to Jane Doe as "Gudda"("Gudda")

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while Jane Doe listened to the call. Based on information from Jane Doe, Gudda believed

that he was speaking with Jane Doe's husband and stated, in sum and substance, that he had

all the information he needed to know.


       12.     Following the telephone call between Gudda and Jane Doe's Family Member,

at approximately 11:53 p.m., Jane Doe received a text message from a different telephone

number—now known to the be the telephone number for the SUBJECT DEVICE—in which

the author identified himself as "Jah"[i^, HUDSON]. The text message read:

               Yo this y niggas was reaching out to ya bitch nigga she a rat and
               the little dog jammed up cuz of this bitch we just want you'll to
               keep street tell that bitch don't testify on the lil bro and this jah
               not Gudda the lil bro reach out to me and that was my only way
               of getting in touch so I no u a real nigga so make ya wife keep it
               real nigga.

The text message included a video recording. On the video recording, a voice can be heard

to say:"Goin over all these rats out here. [Jane Doe], this 2011, she's been rattin." The

video appears to display one ofthe Posters and the speaker states, in part,"She rattin on little

homie now."



       13.     Based on my training and experience and participation in this investigation, I

believe that the reference to "ya bitch" was used because the sender believed that he was

communicating with Jane Doe's husband. Further, the text message references the prior call

Jane Doe's Family Member had with Gudda("Yo this y niggas was reaching out to ya

bitch"). I further believe that the reference to "she a rat" is a reference to Jane Doe. I also

believe that "to keep street" means to avoid cooperating with law enforcement. Further, the

use of"lil bro" in the message and in the recording sent to Jane Doe's phone was a reference
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to Boykins, who is younger than HUDSON. Based on the content ofthe messages, language

ofthe poster, and my training and experience, I believe that HUDSON was attempting to

prevent Jane Doe from testifying against Boykins, including by saying: "tell that bitch don't

testify on the lil bro." In addition, I am informed by Jane Doe that she felt threatened by the

messages and the Posters.

       14.    Law enforcement officers obtained email and telephone calls ofBoykins from

the Metropolitan Detention Center("MDC"). Prior to the events recounted above, on or

about April 9, 2019, Boykins sent an email that read, in part: "[S]ee if u getjah number for

me I need to talk to him about something ...." The reference to "jah number" appears to be

a reference to HDUDSON's telephone number. Three hours later, the recipient ofthe email

described above wrote to Boykins: "Thisjah # [the call number for the SUBJECT

DEVICE]." The telephone number provided to Boykins was the same number used by

HUDSON to contact Jane Doe.


       15.    Based on records obtained from Sprint Corporation ("Sprint"), the subscriber

for the SUBJECT DEVICE is "Jah Jah." Call data records show three telephone calls

between the SUBJECT DEVICE and Jane Doe's telephone number near and just after

midnight on April 13, 2019.

       16.    Law enforcement officers obtained video surveillance footage from numerous

Pink Houses buildings for April 13, 2019. Upon reviewing the footage, agents observed an

individual wearing an orange cap posting most ofthe Posters of Jane Doe's interview report

with the language about Jane Doe being a "Rat" in the lobbies ofthe Pink Houses. The

individual's appearance was consistent with the appearance of HUDSON,based on my

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review of publicly available social media profile photographs ofHUDSON and law

enforcement records.


       17.    On or about May 10, 2019, the Honorable Peggy Kuo, United States

Magistrate Judge issued a search warrant for the "Jah Banga" Facebook account described

above(Docket No. 19-MJ-437). Based on information obtained from Facebook, on or about

April 15, 2019,two days after the calls to Jane Doe, a message was sent from HUDSON'S

Facebook account to an account for "Crissy Love" that read: "shitjust sending my love till

the bro I took care of everything on my part, the rest is on him and god." I believe the

reference to "till" is actually to "tell" and that HUDSON was saying that "Crissy Love"

should tell Boykins he had taken care of contacting Jane Doe. Based on other messages and

records from the MDC,"Crissy Love" appears to be an account for Cristal Butler, a

girlfriend of Boykins.

       18.    On May 9, 2019, HUDSON was arrested on a complaint charging him with

witness tampering, in violation of Title 18, United States Code, Section 1512(b)(1). At the

time of his arrest, HUDSON was in possession ofthe SUBJECT DEVICE. In order to

determine whether the device in HUDSON'S possession was the device that was used to

communicate with Jane Doe,I dialed the telephone number from which the messages that

Jane Doe received were sent and the device that was in HUDSON'S possession rang.

Accordingly, I believe that the SUBJECT DEVICE was used to commit the SUBJECT

OFFENSES.


       19.    The Device is currently in the lawful possession ofthe FBI. It was seized

incident to HUDSON'S lawful arrest. Accordingly, I seek this warrant to be certain that an

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examination ofthe Device will comply with the Fourth Amendment and other applicable

laws.



        20.      The Device is currently stored in my possession and is maintained in a bag

bearing case number 281D-NY-2169145. In my training and experience, I know that the

Device has been stored in a manner in which its contents are, to the extent material to this

investigation, in substantially the same state as they were when the Device first came into the

possession ofthe FBI.


                                     TECHNICAL TERMS



        21.      Based on my training and experience, I use the following technical terms to

convey the following meanings:


              a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular

                 telephone) is a handheld wireless device used for voice and data

                 communication through radio signals. These telephones send signals through

                 networks oftransmitter/receivers, enabling communication with other wireless

                 telephones or traditional "land line" telephones. A wireless telephone usually

                 contains a "call log," which records the telephone number, date, and time of

                 calls made to and from the phone. In addition to enabling voice

                 communications, wireless telephones offer a broad range of capabilities.

                 These capabilities include: storing names and phone numbers in electronic

                 "address books;" sending, receiving, and storing text messages and e-mail;

                 taking, sending, receiving, and storing still photographs and moving video;
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         storing and playing back audio files; storing dates, appointments, and other

         information on personal calendars; and accessing and downloading

         information from the Internet. Wireless telephones may also include global

         positioning system ("GPS")technology for determining the location ofthe

         device.



      b. Digital camera: A digital camera is a camera that records pictures as digital

         picture files, rather than by using photographic film. Digital cameras use a

         variety offixed and removable storage media to store their recorded images.

         Images can usually be retrieved by connecting the camera to a computer or by

         connecting the removable storage medium to a separate reader. Removable

         storage media include various types of flash memory cards or miniature hard

         drives. Most digital cameras also include a screen for viewing the stored

         images. This storage media can contain any digital data, including data

         unrelated to photographs or videos.


     c. Portable media player: A portable media player(or"MP3 Player" or iPod) is a

         handheld digital storage device designed primarily to store and play audio,

         video, or photographic files. However, a portable media player can also store

         other digital data. Some portable media players can use removable storage

         media. Removable storage media include various types offlash memory cards

         or miniature hard drives. This removable storage media can also store any

         digital data. Depending on the model, a portable media player may have the
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          ability to store very large amounts of electronic data and may offer additional

          features such as a calendar, contact list, clock, or games.


       d. GPS: A GPS navigation device uses the Global Positioning System to display

          its current location. It often contains records the locations where it has been.


          Some GPS navigation devices can give a user driving or walking directions to

          another location. These devices can contain records ofthe addresses or


          locations involved in such navigation. The Global Positioning System

          (generally abbreviated "GPS")consists of24 NAVSTAR satellites orbiting the

          Earth. Each satellite contains an extremely accurate clock. Each satellite

          repeatedly transmits by radio a mathematical representation ofthe current

          time, combined with a special sequence of numbers. These signals are sent by

          radio, using specifications that are publicly available. A GPS antenna on Earth

          can receive those signals. When a GPS antenna receives signals from at least

          four satellites, a computer connected to that antenna can mathematically

          calculate the antenna's latitude, longitude, and sometimes altitude with a high

          level of precision.


       e. PDA: A personal digital assistant, or PDA,is a handheld electronic device

          used for storing data(such as names, addresses, appointments or notes) and

          utilizing computer programs. Some PDAs also function as wireless

          communication devices and are used to access the Internet and send and

          receive e-mail. PDAs usually include a memory card or other removable


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          storage media for storing data and a keyboard and/or touch screen for entering

          data. Removable storage media include various types offlash memory cards

          or miniature hard drives. This removable storage media can store any digital

          data. Most PDAs run computer software, giving them many ofthe same

          capabilities as personal computers. For example,PDA users can work with

          word-processing documents, spreadsheets, and presentations. PDAs may also

          include global positioning system ("GPS")technology for determining the

          location ofthe device.



       f. Tablet: A tablet is a mobile computer, typically larger than a phone yet

          smaller than a notebook, that is primarily operated by touching the screen.

          Tablets function as wireless communication devices and can be used to access


          the Internet through cellular networks, 802.11 "wi-fi" networks, or otherwise.

          Tablets typically contain programs called apps, which, like programs on a

          personal computer, perform different flmctions and save data associated with

          those functions. Apps can, for example, permit accessing the Web,sending

          and receiving e-mail, and p^icipating in Internet social networks.


       g. Pager: A pager is a handheld wireless electronic device used to contact an

          individual through an alert, or a numeric or text message sent over a

          telecommunications network. Some pagers enable the user to send, as well as

          receive, text messages.




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             h. IP Address: An Internet Protocol address(or simply "IP address") is a unique

                numeric address used by computers on the Internet. An IP address is a series

                offour numbers, each in the range 0-255, separated by periods (e.g.,

                121.56.97.178). Every computer attached to the Internet computer must be

                assigned an IP address so that Internet traffic sent from and directed to that

                computer may be directed properly from its source to its destination. Most

                Internet service providers control a range ofIP addresses. Some computers

                have static—^that is, long-term—IP addresses, while other computers have

                dynamic—^that is, frequently changed—^IP addresses.


             i. Internet: The Internet is a global network of computers and other electronic

                devices that communicate with each other. Due to the structure ofthe Internet,

                connections between devices on the Internet often cross state and international

                borders, even when the devices communicating with each other are in the

                same state.



       22.      Based on my training, experience, and research, I know that the Device has

capabilities that allow it to serve as a wireless telephone, digital camera, portable media

player, GPS navigation device, and PDA." In my training and experience, examining data

stored on devices ofthis type can uncover, among other things, evidence that reveals or

suggests who possessed or used the device.




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                 ELECTRONIC STORAGE AND FORENSIC ANALYSIS



       23.      Based on my knowledge, training, and experience, I know that electronic

devices can store information for long periods oftime. Similarly, things that have been

viewed via the Internet are typically stored for some period oftime on the device. This

information can sometimes be recovered with forensics tools.



       24.      Forensic evidence. As further described in Attachment B,this application

seeks permission to locate not only electronically stored information that might serve as

direct evidence ofthe crimes described on the warrant, but also forensic evidence that

establishes how the Device was used, the purpose of its use, who used it, and when. There is

probable cause to believe that this forensic electronic evidence might be on the Device

because:



             a. Data on the storage medium can provide evidence of a file that was once on

                the storage medium but has since been deleted or edited, or of a deleted

                portion of a file (such as a paragraph that has been deleted from a word

                processing file). Forensic evidence on a device can also indicate who has used

                or controlled the device. This "user attribution" evidence is analogous to the

                search for "indicia of occupancy" while executing a search warrant at a

                residence.



             b. A person with appropriate familiarity with how an electronic device works

                may, after examining this forensic evidence in its proper context, be able to


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                draw conclusions about how electronic devices were used, the purpose oftheir

                use, who used them, and when.


             c. The process ofidentifying the exact electronically stored information on a

                storage medium that are necessary to draw an accurate conclusion is a

                dynamic process. Electronic evidence is not always data that can be merely

                reviewed by a review team and passed along to investigators. Whether data

                stored on a computer is evidence may depend on other information stored on

                the computer and the application ofknowledge about how a computer

                behaves. Therefore, contextual information necessary to understand other

                evidence also falls within the scope ofthe warrant.


             d. Further, in finding evidence of how a device was used, the purpose of its use,

                who used it, and when, sometimes it is necessary to establish that a particular

                thing is not present on a storage medium.


       25.      Nature ofexamination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination ofthe device

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans ofthe entire medium,that might expose

many parts ofthe device to human inspection in order to determine whether it is evidence

described by the warrant.


       26.      Manner ofexecution. Because this warrant seeks only permission to examine

a device already in law enforcement's possession, the execution ofthis warrant does not
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involve the physical intrusion onto a premises. Consequently, I submit there is reasonable

cause for the Court to authorize execution ofthe warrant at any time in the day or night.


                                      CONCLUSION



       27.    I submit that this affidavit supports probable cause for a search warrant

authorizing the examination ofthe Device described in Attachment A to seek the items

described in Attachment B.



                                                Respectfully submitted,



                                                Steven Schiliro
                                                Special Agent
                                                Federal Bureau ofInvestigation

Subscribed and sworn to before me
on June 25, 2019*

                          ^|ooyv\
UNITED STATE




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                                    ATTACHMENT A



        The property to be searched is an Apple iPhone assigned call number 347-528-9936

in a red and white case that is stored in a bag bearing FBI case number 281D-NY-2169145,

hereinafter the "Device." The Device was seized from Jahmeek Hudson, also known as

"Jah"("HUDSON")pursuant to his arrest on May 9,2019 and has remained in the custody

ofthe FBI since that date. The Device is currently located in the Eastern District ofNew

York.



        This warrant authorizes the forensic examination ofthe Device for the purpose of

identifying the electronically stored information described in Attachment B.
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                                     ATTACHMENT B



       1.      All records on the Device described in Attachment A that relate to violations


of Title 18, United States Code, Sections 1512(b)(1), 1512(b)(2)(A) and 1512(k) and involve

Jahmeek Hudson, Shakeem Boykins, Gudda and Crystal Butler since July 2018, including:


            a. Communications between HUDSON and other co-conspirators related to

               Shakeem Boykins' pending criminal matter, Jane Doe or other individuals

               HUDSON believed to be associate with Jane Doe;


            b. Communications between HUDSON and Jane Doe or other individuals

               HUDSON believed to be associated with Jane Doe;


            c. Photographs, including those of Jane Doe and those demonstrating an

               association between HUDSON and Shakeem Boykins or other co-

               conspirators;.


            d. Evidence ofHUDSON'S creation and/or distribution of posters identifying

               Jane Doe as a "rat"; and


            e. Financial records demonstrating that HUDSON paid to obtain court-related

               documents related to Jane Doe.



       2.      Evidence of user attribution showing who used or owned the Device at the

time the things described in this warrant were created, edited, or deleted, such as logs,

phonebooks, saved usemames and passwords, documents, and browsing history. As used

above, the terms "records" and "information" include all ofthe foregoing items of evidence
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in whatever form and by whatever means they may have been created or stored, including

any form ofcomputer or electronic storage (such as flash memory or other media that can

store data) and any photographic form.
